
243 Md. 688 (1966)
221 A.2d 83
BREWSTER
v.
WARDEN OF THE MARYLAND PENITENTIARY
[App. No. 139, September Term, 1965.]
Court of Appeals of Maryland.
Decided July 5, 1966.
Before HAMMOND, HORNEY, MARBURY, OPPENHEIMER and BARNES, JJ.
PER CURIAM:
Application denied for the reasons stated by Judge Harold E. Naughton in his opinion in the lower court.
The applicant, Randolph Brewster, claimed in one of his contentions that his confession was illegally elicited and could not be used against him at his trial, because he was "denied the assistance of counsel in violation of the Sixth Amendment to the Constitution." The applicant was convicted on October 17, 1949, fourteen years before the decision in Escobedo v. Illinois, 378 U.S. 478, 84 S.Ct. 1758, 12 L.Ed.2d 977 (1963). We have held that the exclusionary rule in Escobedo should not be applied retroactively. Hyde v. State, 240 Md. 661, 215 A.2d 145 (1965). We are happy to note that very recently the Supreme Court reached the same conclusion as we did in Hyde and denied Escobedo retroactive effect. Johnson v. State, 34 U.S.L. Week 4592 (U.S. June 20, 1966).
Application denied.
